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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,


 vs.                                                    CASE NO. 8:05-CR-498-T-17-AEP


 LONNIE LOGGINS
                                         /

                               EXONERATION OF CASH BOND

         The records in this case indicate that the conditions of the original appearance bond have
 been satisfied and that the bond should be exonerated and released. Accordingly, it is.


         ORDERED that the Clerk of Court is directed to promptly return monies on deposit to
 Daniel S. Loggins, 11806 71st Street East, Parrish, FL 34219 in the amount of $50,000.00, plus
 any interest and minus any registry fees. If appropriate, the Clerk shall have issue an Internal
 Revenue Service Form 1099 to the receipient.


         DONE AND ORDERED in Chambers in Tampa, Florida this 21st day of February,
 2012.




 Copies furnished to: All Counsel of Record
